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 6
                                     UNITED STATES DISTRICT COURT
 7
                                    NORTHERN DISTRICT OF CALIFORNIA
 8
                                         SAN FRANCISCO DIVISION
 9
     VIRGINIA M. LAMBRIX, et al., on behalf of       Case No. 3:23-cv-1145-TLT
10   themselves and all others similarly situated,
                                                     NOTICE OF CHANGE OF ADDRESS
11                    Plaintiffs,

12         v.

13   TESLA, INC.,

14                    Defendant.

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     NOTICE OF CHANGE OF ADDRESS
     Case No.: 3:23-cv-1145-TLT
              Case 3:23-cv-01145-TLT Document 169 Filed 07/11/24 Page 2 of 2




 1          PLEASE TAKE NOTICE that, pursuant to Civil L. R. 3-11 of the Civil Local Rules, Alec Blaine

 2   Finley, Counsel for Plaintiffs, hereby provides notice of change of his contact information as counsel of

 3   record. All future pleadings, papers, correspondence, and electronic filings in this action should be sent

 4   to the following address:

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 9    Dated: July 11, 2024                                     Respectfully submitted,

10                                                             FINLEY PLLC
11
                                                     By:       /s/ Alec Blaine Finley
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